                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                No. 5:19-CV-00475-BO

 Jason Williams,

                       Plaintiff,

 v.                                                                   Order

 AT&T Mobility, LLC,

                       Defendant.


       Defendant AT&T Mobility has submitted a statement of the fees and costs it seeks to

recover from non-parties Anexio Data Centers, LLC, Anexio Managed Services, LLC, and

Anexio, Inc. (collectively Anexio Entities) for their failure to comply with validly issued

subpoenas. The certificate of service does not indicate that it was served on the Anexio Entities.

       Therefore, the court orders that no later than December 10, 2021, AT&T must serve a copy

of the statement and a copy of this order on the Anexio Entities in a manner consistent with Rule

45 of the Federal Rules of Civil Procedure. AT&T shall file a document with the court reflecting

the manner of service promptly after completing service. The Anexio Entities will then have until

January 14, 2022, to submit objections to AT&T’s statement of fees and costs. The court will then

determine the appropriate amount of fees and costs to award AT&T.

Dated:
Dated: December 3, 2021
                                             ROBERT T. NUMBERS, II
                                             ______________________________________
                                             UNITED STATES MAGISTRATE JUDGE
                                             Robert T. Numbers, II
                                             United States Magistrate Judge




          Case 5:19-cv-00475-BO Document 96 Filed 12/04/21 Page 1 of 1
